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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                    )
                                                             )                8:14CR316
                          Plaintiff,                         )
                                                             )
        vs.                                                  )                 ORDER
                                                             )
ENRIQUE NAJAR and                                            )
BRETT BOOKER,                                                )
                                                             )
                          Defendants.                        )


        This matter is before the court on the motion for an extension of time by defendant Brett Booker (Booker)
(Filing No. 43). Booker seeks an extension of fourteen days in which to file pretrial motions in accordance with

the progression order (Filing No. 20). Booker's counsel represents that Booker will file an affidavit wherein he

consents to the motion and acknowledges he understands the additional time may be excludable time for the

purposes of the Speedy Trial Act. Booker's counsel represents that government's counsel has no objection to

the motion. Upon consideration, the motion will be granted and the pretrial motion deadline will be extended as
to both defendants.


        IT IS ORDERED:
        Defendant Booker's motion for an extension of time (Filing No. 43) is granted. Booker and Najar are
given until on or before April 16, 2015, in which to file pretrial motions pursuant to the progression order. The
ends of justice have been served by granting such motion and outweigh the interests of the public and the
defendant in a speedy trial. The additional time arising as a result of the granting of the motion, i.e., the time

between April 1, 2015, and April 16, 2015, shall be deemed excludable time in any computation of time under
the requirement of the Speedy Trial Act for the reason defendants' counsel require additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


        DATED this 1st day of April, 2015.
                                                             BY THE COURT:

                                                             s/ Thomas D. Thalken
                                                             United States Magistrate Judge
